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                     Opposition
                      Exhibit 2
Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 2 of 10 Page ID #:1351
Memory: I Don't Think It Means What You Think It Means. An Intervi...                 https://outline.com/MF5Ad3
                Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 3 of 10 Page ID #:1352




2 of 9                                                                                       1/31/2022, 8:54 AM
Memory: I Don't Think It Means What You Think It Means. An Intervi...                 https://outline.com/MF5Ad3
                Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 4 of 10 Page ID #:1353




3 of 9                                                                                       1/31/2022, 8:54 AM
Memory: I Don't Think It Means What You Think It Means. An Intervi...                 https://outline.com/MF5Ad3
                Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 5 of 10 Page ID #:1354




4 of 9                                                                                       1/31/2022, 8:54 AM
Memory: I Don't Think It Means What You Think It Means. An Intervi...                 https://outline.com/MF5Ad3
                Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 6 of 10 Page ID #:1355




5 of 9                                                                                       1/31/2022, 8:54 AM
Memory: I Don't Think It Means What You Think It Means. An Intervi...                 https://outline.com/MF5Ad3
                Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 7 of 10 Page ID #:1356




6 of 9                                                                                       1/31/2022, 8:54 AM
Memory: I Don't Think It Means What You Think It Means. An Intervi...                 https://outline.com/MF5Ad3
                Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 8 of 10 Page ID #:1357




7 of 9                                                                                       1/31/2022, 8:54 AM
Memory: I Don't Think It Means What You Think It Means. An Intervi...                 https://outline.com/MF5Ad3
                Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 9 of 10 Page ID #:1358




8 of 9                                                                                       1/31/2022, 8:54 AM
Memory: I Don't Think It Means What You Think It Means. An Intervi...                https://outline.com/MF5Ad3
               Case 2:21-cr-00491-SB Document 98-5 Filed 02/03/22 Page 10 of 10 Page ID #:1359




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